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     Jordan A. Goldstein (pro hac vice forthcoming)
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 2   New York, NY 10104
     Tel: 212-390-9000
 3   jgoldstein@selendygay.com
 4   Attorney for Lead Plaintiff Henry Rodriguez
     and the Proposed Class
 5

 6
                             UNITED STATES DISTRICT COURT
 7                         NORTHERN DISTRICT OF CALIFORNIA
 8
     DANIEL VALENTI, Individually and On Be-            Case No. 3:21-cv-06118-JD
 9   half of All Others Similarly Situated,
                                                        CERTIFICATION OF JORDAN A.
10                        Plaintiffs,                   GOLDSTEIN PURSUANT TO LOCAL
                                                        RULE 3-7(d)
11                 v.
12   DFINITY USA RESEARCH LLC, DFINITY
     FOUNDATION, and DOMINIC WILLIAMS,
13
                          Defendants.
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                          LOCAL RULE 3-7(d) CERTIFICATION – No. 3:21-cv-06118-JD
                                                   1
           Case 3:21-cv-06118-JD           Document 121-1         Filed 08/08/23      Page 2 of 2




 1 Pursuant to Civil L.R. 3-7(d), I, Jordan A. Goldstein, declare as follows:

 2          Exclusive of securities held through mutual funds or discretionary accounts managed by

 3 professional money managers, I do not directly own or otherwise have a beneficial interest in the

 4 securities that are the subject of this action.

 5          I declare under penalty of perjury that the foregoing is true and correct.

 6            Executed on: August 8, 2023
                           New York, NY
 7

 8                                                          By: /s/ Jordan Goldstein
                                                            Jordan A. Goldstein
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                             LOCAL RULE 3-7(d) CERTIFICATION – No. 3:21-cv-06118-JD
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